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                           Exhibit A
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                                 EXPERT REPORT
                                           of
                           Greg J. Regan, CPA/CFF, CFE




                            David Fleury and Alvin Turner,
              individually and on behalf of similarly situated individuals.


                                           v.
                           Union Pacific Railroad Company


                             United States District Court
                     Northern District of Illinois, Eastern Division




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      1. Executive Summary

          a. Nature of My Assignment

        1.       This matter involves claims brought by David Fleury and Alvin Turner
(“Plaintiffs”), individually and on behalf of a class of similarly situated individuals against Union
Pacific Railroad Company (“Union Pacific Railroad”), which is the principal operating company
of Union Pacific Corporation (“Union Pacific” or the “Company”). 1 Plaintiffs assert that Union
                                                                       0F




Pacific Railroad requires truck drivers that visit its facilities in Illinois to provide their biometric
identifiers in the form of fingerprints and their related biometric information to access facilities. 2
                                                                                                      1F




Plaintiffs allege that Union Pacific Railroad violates the Illinois Biometric Information Privacy
Act (“BIPA”) and seek redress, including statutory damages, for persons injured as a result. 3   2F




        2.     My firm, Hemming Morse LLC (“Hemming”), was retained by McGuire Law,
P.C., on behalf of Plaintiffs. I was asked to evaluate Union Pacific Railroad’s ability to pay a
judgment resulting from this matter.

          b. Qualifications

        3.      I am a Partner in the Forensic Consulting Services Group of Hemming. I have
been licensed as a CPA in California continuously since 1998. I am also licensed as a CPA in
New York. I hold the Certified in Financial Forensics (“CFF”) certification from the American
Institute of Certified Public Accountants (“AICPA”), which is the national professional
organization for CPAs. I am also a Certified Fraud Examiner (“CFE”), which is a certification
issued by the Association of Certified Fraud Examiners. I obtained my undergraduate degree
from Georgetown University and my Masters in Business Administration with an emphasis in
Corporate Finance from the University of San Francisco.

       4.      My work in the accounting profession includes experience as an auditor at Ernst
& Young LLP, as the Controller of a publicly traded company, and as a consultant. I have
worked on many complex litigation matters. My work has involved extensive analysis of
economic damages, including damages involving individuals, lost business value, lost profits,
and unjust enrichment. I have been retained to perform these analyses by governmental entities
such as the Securities and Exchange Commission (“SEC”), the Federal Trade Commission, and



1
    Union Pacific 2023 Form 10-K, p.5.
2
  Third Amended Class Complaint (“TACC”) ¶¶ 1-3. I understand that a biometric identifier is
any personal feature that is unique to an individual (e.g., fingerprints). Biometric information is
any information based on a biometric identifier. Collectively, biometric identifiers and biometric
information are referred to herein as “biometrics.”
3
    Id.


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various state Attorneys General, 4 as well as to respond to inquiries from entities such as the
                                   3F




Consumer Financial Protection Bureau. I have also been retained to perform these types of
analyses by companies such as Amazon, Cisco, ASML, Intuit, Synchrony Bank, NetApp, and
Honeywell, as well as retained in matters adverse to large companies such as PNC Bank, Google,
NCC, Virgin Hotels, and Federal Realty Investment Trust.

       5.      The AICPA has 650,000 members. The AICPA delegates policy-setting in areas
in which CPAs are active to nineteen different executive committees. 5 I have served as a
                                                                        4F




member of the AICPA's Forensic & Valuation Services Executive Committee. This nine-
member committee establishes professional standards and guidance for practitioners performing
consulting services that require the application of forensic accounting or valuation-related
methodologies. I was the Chair of the AICPA's Economic Damages Task Force from 2010-2013
and served as a member of this task force through 2020. In 2012, I received the AICPA's
Forensic Services Volunteer of the Year, which is the award given annually to a member that has
made significant contributions to the advancement of the field of forensic accounting.

      6.      I am also an active member of the California Society of Certified Public
Accountants and was the Chair of its statewide Forensic Services Section.

        7.      The AICPA requires its members to comply with its standards. The AICPA has
determined that the services I am performing in this matter are subject to its Statement on
Standards for Forensic Services (“SSFS”). These standards require CPAs performing analyses
such as those at-issue here to operate with integrity, and to be impartial, intellectually honest, and
free of conflicts of interest. 6 Typically, an objective approach involves testing and analysis of the
                            5F




data used in our work to gauge its suitability and reasonableness.

        8.     My expert qualifications, including testimony in the last four years and
publications authored in the past ten years, are described in Appendix A. My firm is being
compensated for my review, analysis, and testimony in this matter at my standard hourly rate,
which is currently $625 per hour. I have been assisted in this matter by Hemming staff working
under my direction and supervision. My compensation is not contingent on the outcome of this
matter.




4
 For example, I was retained by the California Attorney General’s Office to evaluate Rite Aid’s
ability to pay a judgment in the State of California ex rel. Loyd F. Schmuckley, Jr. v. Rite Aid
Corporation (E.D. California, Case No. 2:12-CV-1699 KFJ EFB).
5
    See https://www.aicpa.org/about/governance/executivecommittees.html.
6
    SSFS ¶¶ 7-8.


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         c. Evidence Considered

        9.     A list of the sources I consulted in preparing this report, as required by Federal
Rule of Civil Procedure 26(a)(2)(B)(ii) may be found in Appendix B to this report. In addition,
other evidence may be produced that could be relevant to my conclusions, including the
testimony and reports of other witnesses or experts. Accordingly, I reserve the right to amend my
report and supplement my opinions after considering such evidence, if necessary.

         d. Summary of Opinions

         10.    In this expert report, I set forth my basis to calculate the Company’s ability to pay
a judgment resulting from this matter. First, I analyzed Union Pacific’s historical financial
results, projections of its future financial results, as well as currently available data from
securities and credit rating analysts (see § 2). Second, I performed generally accepted solvency
analyses, including the Balance Sheet Test, the Cash Flow Test, and the Capital Adequacy Test,
as well as benchmarking of Union Pacific to peer companies (see § 3). Ultimately, based on the
evidence presently available, I set forth the basis for my conclusion that Union Pacific has the
ability to pay a judgment of at least $2.5 billion arising from this matter (see § 4).

       11.      The opinions expressed in this report and information presented in the
accompanying schedules are my present opinions and are based on the documents and other
information available to me at the time of drafting. Amendments or supplements to this report
may be required because of developments prior to or at the trial, including the production of
additional information, Union Pacific Corporation’s subsequent SEC filings, Court Orders, or the
testimony of witnesses in this matter. I anticipate using documents reviewed in connection with
preparing this report, and additional graphics illustrating concepts described herein, at trial.

      2. Background

         a. Union Pacific’s Alleged Use of Biometrics

        12.      I understand that Plaintiffs allege that Union Pacific violated BIPA. Specifically,
the Plaintiffs allege that Union Pacific collected, captured, received through trade, or otherwise
obtained the biometrics of Plaintiffs without first providing adequate written disclosures such
collection and use. 7 The Plaintiffs also allege that Union Pacific disclosed, redisclosed and/or
                    6F




disseminated Plaintiffs’ and the Class members’ biometrics to third-party technology providers,
or otherwise provided access to such biometrics, without first gaining Plaintiffs’ and the Class
members’ consent. 8 Finally, I understand that the Plaintiffs allege that Union Pacific retained
                     7F




Class members biometrics after being informed by Intermodal Association of North America



7
    TACC ¶ 25.
8
    Id., ¶ 27.


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(“IANA”) that the “initial purpose” for collecting or obtaining their biometrics (delivering or
picking up freight on behalf of a specific carrier) had been satisfied. 9   8F




        13.      Additionally, I understand that Plaintiffs may obtain liquidated damages of $1,000
or actual damages, whichever is greater, resulting from negligent violations of BIPA. 10   9F




Alternatively, Plaintiffs may obtain liquidated damages of $5,000 or actual damages, whichever
is greater, for intentional or reckless violations of BIPA. 1110F




          b. Damage Considerations in BIPA Matters

         14.   I understand that a BIPA claim may accrue each time that a biometric identifier or
information is collected or disseminated (i.e., not only on the first scan and first transmission). 12
                                                                                                    11F




Consequently, it is possible for a substantial statutory damage award to occur in the event of a
large class and/or an extended class period and/or where Union Pacific is found to have collected
many unique instances of biometrics. 13 For this reason, I understand the following guideline
                                            12F




exists: 14
         13F




               A trial court presiding over a class action—a creature of equity—would certainly possess
               the discretion to fashion a damage award that (1) fairly compensated claiming class
               members and (2) included an amount designed to deter future violations, without
               destroying defendant's business.

       15.     I further understand that specific guidance does not yet exist to determine the
conditions of an award that may destroy a defendant’s business. 15 Accordingly, an analysis of
                                                                      14F




9
    Id., ¶ 35.
10
     Illinois Biometric Privacy Act (740 ILCS 14/20)
11
     I understand that the Plaintiffs may also be entitled to other forms of recovery.
12
     Cothron v. White Castle System, Inc., 2023 IL 128004 (2023) at ¶ 1.
13
  E.g., Defendant’s Opposed Motion to Amend Class Allegations, p. 9, “Plaintiffs now seek
years of damages based on a theory that includes potentially millions of violations aggregated
across the class, which could result in the exact ‘grossly excessive’ damages the Fourteenth
Amendment prohibits.”
14
   Id. at ¶ 42 (citing Central Mutual Insurance Co. v. Tracy's Treasures, Inc., 2014 IL App (1st)
123339, ¶ 72, 385 Ill. Dec. 904, 19 N.E.3d 1100). See also, Id. at ¶ 42, “[T]here is no language in
the Act suggesting legislative intent to authorize a damages award that would result in the
financial destruction of a business.”
15
  Cothron v. White Castle System, Inc., 2023 IL 128004 (2023) at ¶ 43 (suggesting that the
legislature review this issue).


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the size of a judgment that a defendant has the ability to pay without destroying its business is
relevant.

         16.      This type of analysis is comparable to an evaluation of a defendant’s ability to pay
restitution or punitive damages. 16 CPAs are frequently called upon to perform this type of
                                    15F




analysis. 17 This is because the analyses focus on the entity’s financial condition (i.e., assets and
           16F




liabilities), results of financial operations (i.e., revenue and expenses), and cashflow: 18
                                                                                        17F




          Various measures of earnings ability - including operating profit, profit before tax, net
          income, cash flow from operations, cash flow before tax, and net cashflow -- can shed
          light on an entity’s ability to pay and to absorb costs. Other financing information that
          juries should consider includes the defendant’s borrowing capacity, working capital, and
          the amount of dividends or payments to owners over the recent past.

         17.    For these reasons, the sub-sections below contain my analysis of Union Pacific’s
ability to pay a judgment in this matter.

         c. Union Pacific Has a Regulatory Obligation to Provide Reliable Periodic Financial
            Statements

       18.      Union Pacific’s common stock is listed on the New York Stock Exchange under
the symbol “UNP.” As a publicly traded entity, Union Pacific is required to file periodic
financial statements with the SEC, including audited annual financial statements (“Form 10-K”)
and unaudited quarterly financial statements (“Form 10-Q”). 19 18F




16
  Litigation Services Handbook, The Role of the Financial Expert, 6th Ed. (“LSH”), Ch. 17,
“Punitive Damages,” p.3, “A expert should present information that will help a trier of fact show
the defendant’s financial position, the effects of possible punitive awards, and other information
deemed relevant to the choice of an appropriate award to help a jury.” These considerations are
similar to other guidance applicable to a defendant’s ability to pay (e.g., “Imposition and
Enforcement of Restitution.” Administrative Office of the United States Courts. 2000. p.5.).
17
   Id., p.9. “Because the law has defined few specific guidelines with respect to which financial
information is most relevant to determine an appropriate amount of punitive damages,
accountants can bring a broad spectrum of training, expertise, and creativity to the
engagement. The expert’s role in presenting and explaining relevant financial information is
critical to providing a useful framework for the trier of fact to evaluate punitive damages.”
(emphasis added)
18
     Id., p. 6. (emphasis added)
19
     SEC, Topic 1 Registrant’s Financial Statements, §1320 Financial Statements Required.


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       19.     The SEC requires registrants to present financial statements in accordance with
generally accepted accounting principles (“GAAP”). 20 GAAP brings consistency, conformity,
                                                          19F




and comparability to financial reporting. Ultimately, an objective of such financial reporting is to
provide information that helps users assess the entity’s liquidity and solvency. 21
                                                                                20F




         Information about the nature and amounts of a reporting entity’s economic resources and
         claims can help users to identify the reporting entity's financial strengths and
         weaknesses. That information can help users to assess the reporting entity’s liquidity
         and solvency, its needs for additional financing, and how successful it is likely to be in
         obtaining that financing.

       20.     GAAP specify how an entity should identify and report the results of its operating
segments, if more than one exists. 22 For Union Pacific, the Union Pacific Railroad business is its
                                   21F




only reportable operating segment (i.e., constitutes all or substantially all of its operations). 23
                                                                                              22F




Union Pacific’s operating revenues are primarily derived from contracts with customers for the
transportation of freight from origin to destination. 24
                                                    23F




        d. Union Pacific Has Consistently Reported Revenue and Earnings Growth That Is
           Expected to Continue for the Foreseeable Future

             i. Historical and Projected Financial Results

        21.     Union Pacific has operated continuously for 162 years. 25 Accordingly, the
                                                                        24F




starting point in my analysis of the Company’s ability to pay a judgment is its historical financial


20
  Authoritative GAAP is promulgated by the Financial Accounting Standards Board (“FASB”)
and is contained within the FASB’s Accounting Standards Codification (“ASC”).
21
   FASB Concepts Statement 8 (“CON 8”), Conceptual Framework for Financial Reporting
Chapter 1, The Objective of General Purpose Financial Reporting, ¶ OB13. (emphasis added)
See also, Id. at ¶ BC1.34, “Some constituents have suggested that the main purpose of the
statement of financial position should be to provide information that helps assess the reporting
entity’s solvency. The question is not whether information provided in the financial reports
should be helpful in assessing solvency; clearly, it should. Assessing solvency is of interest to
investors, lenders, and other creditors, and the objective of general purpose financial reporting is
to provide information that is useful to them for making decisions.”
22
     ASC 280, Segment Reporting at ASC 280-10-50-1.
23
     Union Pacific 2023 Form 10-K, p.5.
24
     Union Pacific 2023 Form 10-K, p.47.
25
 https://www.up.com/heritage/index.htm, “Our past reminds us of the enormous responsibility
we have for our nation’s future.”


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statements. As described below, Union Pacific has a long history of strong financial performance
and low financial volatility.

        22.    As seen in the table below, Union Pacific’s revenue grew from $21.7 billion in
2019 to $24.1 billion in 2023 (its most recent annual period). During this time, Union Pacific
consistently generated cashflow from operating its business in the range of $8.4 billion to $9.4
billion annually.

       23.     Securities analysts regularly develop financial projections for companies such as
Union Pacific, including revenue, earnings, cashflow, debt, and capital expenditure estimates.
When the estimates of securities analysts are considered together, the estimates are referred to as
consensus estimates. Over the five years from 2019 to 2023, Union Pacific’s actual results have
been consistent with consensus estimates as seen in the table below: 26
                                                                     25F




                 Analyst Estimate and Actual Financial Results ($s in millions)
                       2019           2020          2021            2022                 2023
 Revenue
 Actual            $21,708            $19,533         $21,804              $24,875     $24,119
 Estimate          $21,808            $19,501         $21,649              $24,961     $24,025
 % Difference       -0.5%              0.2%            0.7%                 -0.3%       0.4%
 Net Income
 Actual             $5,919             $5,349          $6,523              $6,998       $6,379
 Estimate           $5,936             $5,444          $6,499              $7,088       $6,286
 % Difference       -0.3%              -1.7%            0.4%               -1.3%         1.5%
 Cash from Operations
 Actual             $8,609             $8,540          $9,032              $9,362       $8,379
 Estimate           $8,520             $8,074          $8,869              $9,577       $8,369
 % Difference        1.0%               5.8%            1.8%               -2.2%         0.1%
 Net Debt
 Actual            $24,309            $24,870         $28,723              $32,307     $31,508
 Estimate          $24,566            $26,039         $28,902              $32,482     $31,933
 % Difference       -1.1%              -4.7%           -0.6%                -0.5%       -1.4%
 Capital Expenditures
 Actual             $3,453             $2,927          $2,936              $3,620       $3,606
 Estimate           $3,120             $2,917          $2,859              $3,385       $3,686
 % Difference        9.6%               0.3%            2.6%                6.5%         2.2%

       24.     The data reflected in the table above supports my conclusion that analyst
estimates have been a reliable predictor of Union Pacific’s financial results. Accordingly, I


26
     CapIQ, Estimates > Consensus.


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considered the current consensus estimates for Union Pacific, which indicate an expectation of
revenue, profitability, cashflow, debt, and capital expenditure predictions for the foreseeable
future as set forth in the table below:

                  Analyst Estimates & Percent Growth ($s in millions)
                                   2024      2025      2026        2027              2028
 Revenue
 Estimate                           $24,786     $26,122     $27,151     $29,110     $30,625
 YoY Growth                          2.8%        5.4%        3.9%        7.2%        5.2%
 Net Income
 Estimate                           $6,850      $7,547      $7,919      $9,067      $9,748
 YoY Growth                          7.4%       10.2%        4.9%       14.5%        7.5%
 Cash from Operations
 Estimate                           $9,484      $10,290     $11,105     $12,392     $13,385
 YoY Growth                         13.2%        8.5%        7.9%        11.6%       8.0%
 Net Debt
 Estimate                           $30,060     $29,149     $28,311     $28,244     $28,371
 YoY Growth                          -4.6%       -3.0%       -2.9%       0.2%        0.5%
 Capital Expenditure
 Estimate                           $3,383      $3,634      $3,765      $4,032      $4,172
 YoY Growth                         -6.2%        7.4%        3.6%        7.1%        3.5%

        25.    As seen in the table above, Union Pacific is expected to experience consistent
revenue growth accompanied by earnings and cashflow generation growth. Additionally, Union
Pacific is expected to reduce outstanding net debt during this time period.

        26.    This revenue and earnings growth outlook for Union Pacific is consistent with the
Company’s own recent statements concerning its financial health. For example, during Union
Pacific’s earnings call on January 25, 2024, Jennifer Hamann, CFO, stated: 27
                                                                           26F




       What is very encouraging though, as we start out 2024 is our momentum, which you’ve
       heard us mention several times today. We demonstrated with our fourth quarter
       performance, what's possible and we look forward to further improvement in the year
       ahead.



27
   Union Pacific Earnings Release dated January 25, 2024, p.8. See also, Union Pacific Q1’24
Earnings Tr., p.5, where Ms. Hamann stated “And finally, with capital allocation, we plan to start
-- restart share repurchases in the second quarter, a further demonstration of the confidence we
have in our strategy and the momentum that is building. The actions we’re taking to improve
safety, service and operational excellence are reflected in our financials, and continuing on with
this strategy will drive shareholder value in 2024 and well into the future.”


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       27.   Similarly, on Union Pacific’s first quarter of 2024 earnings call, Vincenzo James
Vena, CEO, stated: 28   27F




           This morning, Union Pacific reported 2024 1st quarter net income of $1.6 billion or
           $2.69 per share. This compares to 2023 1st quarter net income of $1.6 billion or $2.67
           per share…Look, it’s a great start to the year. I’m pleased with how the Union Pacific
           team is coming together to unlock what’s possible for our company.

                 ii. Strong Financial Results Have Generated Cashflow Enabling Union Pacific to
                     Pay Dividends and Make Discretionary Share Repurchases

        28.     Since 1997, share repurchases have surpassed cash dividends as means to return
value to shareholders. 29 The general objective of share repurchases is to improve stock price
                                    28F




returns. 30 As described below (see ¶ 42), Union Pacific has engaged in both share repurchases
           29F




and payment of dividends in recent years. For example, Union Pacific’s share repurchases have
totaled $23.8 billion over the five preceding fiscal years. 31 These share repurchases are
                                                            30F




authorized by Union Pacific’s Board of Directors and executed at the sole discretion of Union
Pacific management. 32 In addition, Union Pacific has paid dividends totaling $14.4 billion over
                              31F




the five preceding years. The Company has made public statements confirming its plan to
continue this strategy (i.e., consistent with the outlook described above for continued
profitability and cashflow generation). 33      32F




       29.    A significant source of the capital used for these purposes is the cashflow
generated from the Company’s operations. Because these financing activities are discretionary,



28
     Union Pacific Earnings Tr. dated April 25, 2024.
29
 S&P Dow Jones, “Examining Share Repurchasing and the S&P Buyback Indices in the U.S.
Market,” March 2020 by Liyu Zeng and Priscilla Luk.
30
     Id.
31
     CapIQ, Union Pacific Financial Statements 2019 - 2023
32
   E.g., Union Pacific Form 10-Q for the period ended March 31, 2024, p.15, “Effective April 1,
2022, our Board of Directors authorized the repurchase of up to 100 million shares of our
common stock by March 31, 2025. As of March 31, 2024, we repurchased a total of 19.6 million
shares of our common stock under the 2022 authorization. These repurchases may be made on
the open market or through other transactions. Our management has sole discretion with respect
to determining the timing and amount of these transactions.”
33
  Union Pacific FY’23 Earnings Tr., p.8, where Mr. Vena stated, “We prioritize our industry-
leading dividend payout and then excess cash will be returned to shareholders through share
repurchases.”


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the cashflow available and used for these purposes could, instead, be used for other purposes,
including payment of a judgment in this matter.

           iii. Securities Analysts Have a Positive Outlook for Union Pacific’s Stock

        30.      I also considered the outlook of securities analysts’ ratings on Union Pacific’s
stock. Ratings such as “Buy” or “Outperform” signal a strong view about the company’s
financial future. These ratings typically reflect a comprehensive analysis of Union Pacific’s
financial health, market position, and growth potential. Essentially, when financial experts agree
that a positive outlook exists, it not only highlights the company’s current stability but also
underscores its potential for future growth and profitability. I have summarized recent analyst
ratings in the table below, which currently reflects a weighted average rating of 1.9 (i.e.,
approximately Outperform). 34
                            33F




                              Union Pacific Analyst
                                Recommendations
                         1 - Buy                 15
                         2 - Outperform           4
                         3 - Hold                10
                         4 - Underperform         2
                         5 - Sell                 0

           iv. Debt Ratings Agencies Consider Union Pacific to Have Low Credit Risk

        31.     As described above, Union Pacific has engaged in significant discretionary share
repurchase programs (see § 2.d.ii). These programs have impacted the credit rating of Union
Pacific’s outstanding debt. On May 31, 2018, S&P marginally lowered Union Pacific’s credit
rating from “A” to “A-” following the Company’s announcement of a $20 billion share
repurchase plan to be completed through 2020. 35 The action by the rating agency to lower the
                                               34F




credit rating reflected the fact that Union Pacific planned to partially finance those share
repurchases using additional debt. 36 Union Pacific, however, has maintained its A- credit rating
                                     35F




34
  CapIQ, Union Pacific Analyst Estimates, 2023, “It is the opinion expressed by the analysts on
the stock performance over a short-term period. Capital IQ provides both the Broker
Recommendations and Standardized Recommendations. Capital IQ will standardize all the
individual recommendations across the brokers on a 1-5 point scale.” The 31 analyst
recommendations summarized in the table represents all recommendations as of June 12, 2024.
35
 S&P Global Ratings, “Union Pacific Corp Corporate Credit Rating Lowered To 'A-' From 'A'
On $20 Billion Share Buyback Plan; Outlook Stable,” May 31, 2018.
36
     Id.


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since that time. This credit rating was most recently affirmed on November 7, 2023 by Fitch
Rating, which stated at that time: 37
                                    36F




          UNP’s ratings reflect its strong business profile, supported by its entrenched position in
          the duopolistic rail market afforded by its large rail network. Financial flexibility is
          strong due to its highly profitable operations, the resiliency of its cash flows and ability
          to unlock significant cash flows by reducing share repurchases as needed.

       32.    Union Pacific’s A- credit rating indicates that its capacity to meet its financial
commitments is strong although it is somewhat susceptible to adverse effects of changes in
economic conditions. 38 Further, consistent with my observation above, credit analysts observe
                        37F




Union Pacific has the ability to “unlock significant cash flows” by reducing share repurchase as
needed.

      3. Solvency Analyses

        33.     Experts commonly address whether an entity was solvent as of a particular date. 39   38F




There are three accepted tests used for this purpose that are collectively referred to as solvency
analyses. As described further in the sub-sections below, these tests are interrelated and should
be reconcilable. 40 I have considered these tests to evaluate the hypothetical solvency of Union
                  39F




Pacific in the event a judgment is awarded in this matter.

        34.    The solvency analyses described herein consider Union Pacific’s financial
information as of December 31, 2022 (“FY’22”) and December 31, 2023 (“FY’23”), which are
the two most recent periods for which audited financial statements are available. I also consider
data from the most recent quarter ended March 31, 2024 (“Q1’24”). It is common for the
conclusions of these tests to be bridged to an earlier or later date by considering any material




37
  Fitch Ratings, “Fitch Affirms Union Pacific at ‘A-’/’F1’; Outlook Stable.” Available at
https://www.fitchratings.com/research/corporate-finance/fitch-affirms-union-pacific-at-a-f1-
outlook-stable-07-11-2023 (accessed May 1, 2024). (emphasis added) Fitch also stated, “Fitch
believes liquidity remains comfortable given the company’s ability to generate cash from
operations, high availability under its credit lines and laddered maturity profile.”
38
   Available at https://disclosure.spglobal.com/ratings/en/regulatory/article/-
/view/sourceId/504352 (accessed May 1, 2024). The addition of the “-” is a modification
indicating relative standing within the rating category.
39
     LSH, Ch. 25, “Typical Roles of a Financial Expert in Bankruptcy Litigation”, p.30.
40
  Id., p.30, “Bankruptcy court recognizes three traditional tests of solvency: the balance sheet
test, the capital adequacy test, and the cash flow (or ability to pay, or liquidity) test. These three
tests are interrelated and address questions of value.”


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changes experienced by the entity in the intervening time. 41 In the event that additional
                                                                        40F




information becomes available, I intend to supplement this analysis, however, Union Pacific’s
long-term financial history, low volatility, and consistent projections cause me to consider an
adverse change to be a low risk. Union Pacific’s disclosures in its financial statement filings with
the SEC are consistent with this conclusion. 42 41F




           a. The Balance Sheet Test

         35.     This test asks the question: Does the value of the entity’s net assets exceed its
liabilities? 43 The starting point for this analysis is the entity’s balance sheet. 44 It is appropriate to
              42F                                                                   43F




consider whether the amounts presented on the balance sheet in accordance with GAAP require
any adjustments to reflect market value and economic substance. 45            44F




        36.      I conclude the value of the Company’s assets presented on the balance sheet are
appropriately valued for purposes of my analysis. 46 Many of Union Pacific’s assets are already
                                                            45F




reported at fair market value or net realizable value (e.g., cash, accounts receivable, and
investments). Union Pacific does have substantial properties on its balance sheet reported at
historical cost less accumulated depreciation. 47 Union Pacific expends significant resources each
                                                      46F




year to invest in these properties and the Company performs regular studies of its depreciation
practices to ensure net book value is reported accurately. 48 Further, Union Pacific’s independent
                                                                  47F




auditor, Deloitte, has made the reporting of the value of Union Pacific’s properties an area of
audit emphasis. 49 Additionally, GAAP requires Union Pacific to regularly evaluate whether the
                    48F




41
     Id., p.31
42
  Union Pacific FY’23 Form 10-K, p.33. “there is no known trend, demand, commitment, event,
or uncertainty that is reasonably likely to occur that would have a material adverse effect on our
consolidated results of operations, financial condition, or liquidity.”
43
     LSH, Ch. 25, “Typical Roles of a Financial Expert in Bankruptcy Litigation”, pp.28-29.
44
     Id.
45
   Id. at p.28, “Once the asset value is determined, the analyst compares that amount to the
amount of the liabilities on the books, plus any amounts necessary to reflect the amount of
liabilities that are contingent or off the balance sheet.” “GAAP-based calculations of goodwill
are rarely dispositive of the ongoing value of the business.”
46
  Union Pacific FY’23 Form 10-K, p.44. Union Pacific does not have any reported goodwill or
other assets requiring significant adjustments to approximate reported fair market value.
47
     Id., p.63.
48
     Id.
49
     Id., p.42.


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fair value of its properties is less than the reported value (i.e., impaired). 50 Accordingly, the
                                                                             49F




value of Union Pacific’s properties may be higher than the reported value but is not less.

         37.     Similarly, I conclude the value of the liabilities presented on the balance sheet are
fairly stated for the purposes of my analysis. The majority of Union Pacific’s liabilities consist of
current liabilities such as accounts payable, as well as debt. 51 In consideration of Union Pacific’s
                                                               50F




positive credit rating as described above (see § 2.d.iv), an adjustment to the reported value of
debt does not appear necessary. In addition, Union Pacific has recorded liabilities for
contingencies such as litigation (not including for this matter) and environmental costs. 52       51F




Finally, Union Pacific’s future contractual payment obligations, which include debt, purchase
commitments, leases, and post retirements benefits such as pensions, do not reflect any abnormal
commitments. 53 These obligations range from $2.7 billion to $4.2 billion annually over the
                   52F




period from 2024 to 2028 as compared to obligations of $4.2 billion in 2023. 54           53F




         38.     Once this analysis has been performed, the balance sheet test is generally
considered to be straightforward. 55 If the test reflects that the value of assets exceeds the amount
                                   54F




of the liabilities—the entity is considered solvent on a balance sheet basis. 56 The table below
                                                                                    55F




summarizes this analysis for Union Pacific at the two most recent dates for which information is
available: 5756F




                              Balance Sheet Test ($s in millions)
     As of:               December 31, 2022        December 31, 2023               March 31, 2024
     Total Assets             $69,449                  $67,132                        $67,266
     Total Liabilities        $53,286                  $52,344                        $51,601
     Net Assets                12,163                  $14,788                        $15,665




50
     ASC 360-10-35-17.
51
     Union Pacific FY’23 Form 10-K, p.44.
52
     Id., pp.69-70.
53
     Id., p.34.
54
     Union Pacific FY’22 Form 10-K, p.35.
55
  LSH, Ch. 25, p.28. “Once the practitioners have properly valued the assets and determined the
amount of the liabilities, the balance sheet test is straightforward.”
56
     Id.
57
  Union Pacific 2023 Form 10-K, p.44 and Q1’24 Form 10-K, p.4. Unless otherwise noted, all
numbers within my report are presented in millions.


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         39.    As seen in the table above, the Balance Sheet Test indicates Union Pacific held
assets significantly in excess of liabilities at the end of both FY’23 and Q1’24 58 supporting the
                                                                                  57F




ability to pay a judgement subject to the results of the Cash Flow Test (see § 3.b) and the Capital
Adequacy Test (see § 3.c).

           b. The Cash Flow Test

         40.      This test asks the question: Does the entity have sufficient cash to pay its current
debts as they become due? 59 This test is typically evaluated as of a date in the past, however, the
                            58F




test itself is prospective in nature. The test focuses on expected future cash needs and the
expected future sources of cash. 60 The test incorporates consideration of future sources of cash
                                    59F




such as cash from operations, asset sales, and other sources. 61 To answer this question, I
                                                               60F




incorporated information available in Union Pacific’s statements of cash flows, which GAAP
affirms to be designed for this purpose. 62
                                          61F




       41.    One of the cashflow metrics I use in my analysis is Net Cash Flow to Equity,
which is commonly used to measure cashflows available to pay out equity holders (e.g., in the
form of dividends) after funding operations of the business, making necessary capital




58
   Union Pacific discloses that a measurement of working capital (current assets minus current
liabilities) is not an indication of the Company’s liquidity. See Union Pacific 2023 Form 10-K,
p.33, “At both December 31, 2023 and 2022, we had a working capital deficit due to upcoming
debt maturities. It is not unusual for us to have a working capital deficit, and we believe it is not
an indication of a lack of liquidity. We generate strong cash from operations and also maintain
adequate resources, including our credit facility and, when necessary, access the capital markets
to meet foreseeable cash requirements.”
59
     LSH, Ch. 25, “Typical Roles of a Financial Expert in Bankruptcy Litigation”, pp.29-30.
60
     Id.
61
     Id.
62
   CON 8 ¶ OB 20, “Information about a reporting entity’s cash flows during a period also helps
users to assess the entity's ability to generate future net cash inflows. It indicates how the
reporting entity obtains and spends cash, including information about its borrowing and
repayment of debt, cash dividends or other cash distributions to investors, and other factors that
may affect the entity’s liquidity or solvency. Information about cash flows helps users
understand a reporting entity's operations, evaluate its financing and investing activities, assess
its liquidity or solvency, and interpret other information about financial performance.”


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investments, and increasing or decreasing debt financing including interest. 63 The table below
                                                                            62F




summarizes this calculation for Union Pacific’s two most recent fiscal years:

                        Net Cash Flow to Equity ($s in millions)
 Year Ended                          December 31, 2022           December 31, 2023
 Net Income                                 $6,998                    $6,379
 + Non-cash (e.g., depreciation)            $2,246                    $2,318
 - Capital expenditures                    -$3,620                   -$3,606
 - Change in working capital                 $118                     -$318
 Subtotal before debt                       $5,742                    $4,773
                                 64
 + Change to long-term debt, net 63F        $3,789                    -$591
 Net Cash Flow to Equity                    $9,531                    $4,182

        42.     As seen in the table above, Union Pacific has generated substantial positive
cashflow after deducting expenses necessary to operate its business, including re-investing in its
railroad infrastructure and payment of interest on outstanding debt (i.e., $5.7 billion in FY’22
and $4.8 billion in FY’23 before the impact of changes in debt). 65
                                                                 64F




       43.     As seen in the table immediately below, Union Pacific has used this available
cashflow for discretionary purposes—repurchasing the Company’s common stock and payment




63
  Valuing a Business, The Analysis and Appraisal of Closely Held Companies, 4th Ed., by
Shannon P. Pratt, p.158. See also, AICPA, Statement on Standards for Valuation Services
(“SSVS”), Glossary.
64
  These amounts include repayment of $2.3 billion of debt in FY’22 and $2.2 billion in FY’23.
This level of debt repayment exceeds the Company’s debt maturities in any of the next five
years, which range from $1.2 billion to $1.5 billion (see Union Pacific 2023 Form 10-K, p.66.)
The reduced future debt repayment increases the likelihood of future cashflow flexibility for
Union Pacific.
65
  Union Pacific employs an adjusted metric referred to as free cash flow, which is similar to Net
Cash Flow to Equity but 1) removes the impact of changes in debt and 2) deducts dividends paid.
See Union Pacific 2023 Form 10-K, p.25, “Free cash flow is defined as cash provided by
operating activities less cash used in investing activities and dividends paid…We believe free
cash flow is important to management and investors in evaluating our financial performance and
measures our ability to generate cash without additional external financing.”


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of dividends to shareholders. As observed by the credit rating analysts, Union Pacific has the
ability to curtail these discretionary uses of cashflow, including to satisfy an award.

                         Net Change in Cash ($s in millions)
 Year Ended                         December 31, 2022                December 31, 2023
 Net Cash Flow to Equity                  $9,531                          $4,182
 Repurchases of common stock             -$6,282                          -$705
 Dividends paid on common stock          -$3,159                         -$3,173
 Net Change in Cash                        $90                             $304

        44.    Additionally, I considered the outlook for Union Pacific’s operations including
cashflow generation, expected capital expenditures and debt repayment obligations based on
current analyst estimates (see ¶ 24). This outlook supports my conclusion that Union Pacific will
continue to experience stable financial conditions while achieving overall growth in cashflow
generation over the years from 2024 to 2028:

                      Future Cash Flow Projections ($s in millions)
 Fiscal Year                      2024      2025         2026         2027               2028
 Cash from Operations            $9,484   $10,290      $11,105      $12,392            $13,385
 Capital Expenditures           -$3,383   -$3,616      -$3,749      -$4,027            -$4,167
 Debt Repayments                -$1,427   -$1,426      -$1,515      -$1,285            -$1,235
 Total                           $4,674    $5,248       $5,841       $7,080             $7,983

        45.     Finally, as of March 31, 2024, Union Pacific has repurchased $54.7 billion of its
common stock, including $23.8 billion over the five preceding fiscal years (see ¶ 28). Union
Pacific could liquidate treasury stock to provide capital to satisfy an award. 66 The Company also
                                                                             65F




had $2.4 billion of available credit as of March 31, 2024 from the combination of its revolving
credit and receivable facilities. 67
                               66F




        46.     Altogether, the Cash Flow Test indicates that Union Pacific has substantial
capacity to pay a judgment using profits from operations, available credit facilities, and/or the
liquidation of treasury stock particularly if a time horizon longer than twelve months is
considered.




66
   This amount reflects the cumulative repurchase price. I have not performed an analysis of the
fair market value of Union Pacific’s treasury stock at this time.
67
  Union Pacific Q1’24 Form 10-Q, p.25. “[The Company had] $2.0 billion of credit available
under our revolving credit facility, and $400 million undrawn on the Receivables Facility.”


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           c. The Capital Adequacy Test

        47.     This test asks the question: Does the entity have unreasonably small capital to
operate its business? 68 The capital adequacy test considers the entity’s existing and available
                             67F




sources of capital such as its ability to generate cash from operations and asset sales in
comparison to its capital needs. 69 This test also takes into consideration the entity’s ability to
                                    68F




withstand a reasonable degree of stress. 70 The entity has unreasonably small capital when its
                                          69F




cash plus the reasonable estimates of potential cash flows and borrowing capacity over the near
term is insufficient for the timely payment of its obligations and continuation of its operations in
the ordinary course. 7170F




        48.    As described above (see ¶ 33), the three solvency tests are interrelated. Here,
Union Pacific has approximately $1.0 billion of cash-on-hand as of March 31, 2024, 72 generates
                                                                                       71F




substantial Net Cash Flow to Equity each period (see ¶ 41), and has borrowing capacity of
approximately $2.4 billion as of March 31, 2024 (see ¶ 45). 73 Further, the Company is expected
                                                             72F




to generate significant cash flow after capital expenditures and debt repayment from 2024
through 2028 (see ¶ 44). Although this test contemplates the ability to liquidate assets, presently,
I have not included this additional potential source of capital to Union Pacific.

        49.     I also considered the Company’s ability to withstand a reasonable amount of
stress. To perform this analysis, I modeled a 25% reduction to Union Pacific’s cash from
operations, which is conservative given the absence of any similar fluctuation in at least the last


68
     LSH, Ch. 25, “Typical Roles of a Financial Expert in Bankruptcy Litigation”, p.29 – p.30.
69
   LSH, Ch. 25, “Typical Roles of a Financial Expert in Bankruptcy Litigation”, pp.29-30. “The
capital adequacy test looks to the debtor’s capitalization and available sources of capital
(including the debtor’s ability to generate enough cash from operations and asset sales) in
comparison to its capital needs.” See also, “Due Diligence and Analytical Procedures for
Fraudulent Conveyance Opinions,” Willamette Insights, Winter 2014, p.41, “The capital
adequacy test determines whether the debtor corporation has adequate capital to meet its (1)
operating expenses, (2) capital expenditure requirements, and (3) debt repayment obligations.
The goal of the capital adequacy test is to evaluate the likelihood that the debtor corporation will
survive potential business fluctuations over several quarters following the transfer date.”
70
     Id.
71
  Id. The capital adequacy analysis typically includes evaluating all available resources,
including sale of assets, borrowing capacity, and operating performance. New debt to pay
existing debt is not considered capital for this purpose.”
72
     Union Pacific Q1’24 Form 10-Q, p.4.
73
   For present purposes, I have conservatively not considered Union Pacific’s ability to sell assets
in my analysis.


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10 years. 74 Even if such a reduction occurred, Union Pacific would still comfortably generate
           73F




significant cashflow after capital expenditures and debt repayments—even before accessing
credit facilities:

                      Future Cash Flow Projections ($s in millions)
 Fiscal Year                         2024      2025        2026      2027                 2028
 Cash from Operations               $9,484    $10,290 $11,105       $12,392              $13,385
 25% Reduction                            -$2,371    -$2,573    -$2,776      -$3,098      -$3,346
 Revised Cash from Operations             $7,113      $7,718     $8,329       $9,294     $10,038
 Capital Expenditures 75   74F            -$3,383    -$3,616    -$3,749      -$4,027     -$4,167
 Debt Repayments 76  75F                  -$1,427    -$1,426    -$1,515      -$1,285     -$1,235
 Total                                    $2,303      $2,675     $3,065       $3,982      $4,637

        50.    In addition, I performed an analysis to compare Union Pacific’s financial
condition to competitive peer companies. 77 As compared to its competitors on numerous
                                           76F




financial metrics, Union Pacific is the largest North American publicly traded railroad. 78 The
                                                                                         77F




table below compares Union Pacific to certain of these entities based on average financial results
from 2021 to 2023:




74
  In fact, Union Pacific has generated more than $1.0 billion of cashflow from operations minus
investing activities in each of the last 16 years—a period that includes both the global financial
crisis and the COVID-19 pandemic.
75
  Based on my review, Union Pacific’s rate of capital expenditures has been consistent and is
unlikely to fluctuate meaningfully. In fact, if cash from operations was reduced 25%, Union
Pacific could mitigate that reduction by reducing operating expenses or capital expenditures.
76
     These amounts are known which eliminates the need for stress testing.
77
     Union Pacific’s 2023 Proxy, p.50.
78
  Union Pacific’s Revenue, Net Income, Cash Flow from Operations and Market Capitalization
as of June 14, 2024 are all industry leading for publicly traded Companies. BNSF was purchased
by Berkshire Hathaway in 2010 though BNSF’s audited financial statements continue to be
available on their website.


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             Peer Company Financial Results and Ratio Analysis ($s in millions)
                                                                  Cash Flow from
               Company Name            Revenue       EBITDA
                                                                     Operations
         BNSF                          $23,729        $10,813          $9,086
         CSX Corp                      $14,011         $7,071          $5,422
         Canadian National Railway Co  $12,274         $6,481          $5,236
         Northfolk Southern Corp       $12,014         $5,756          $3,885
         Canadian Pacific Kansas City   $7,446         $3,985          $3,036

         Union Pacific Corp                     $23,599         $11,757        $8,924
         Union Pacific Margin (Deficit)          -$130           $944          -$162

       51.     I also considered numerous financial ratios to evaluate Union Pacific’s financial
condition. The Altman Z-score is widely used to evaluate an entity’s risk of bankruptcy. This
score considers profitability, leverage, liquidity, solvency, and activity ratios. 79 A higher Altman
                                                                                78F




Z-Score translates to better financial solvency and performance. 80 Union Pacific has a peer
                                                                     79F




company leading Altman Z-Score of 3.69, which was significantly higher than the weighted-
average (by revenue) of peer companies score of 2.67. 81  80F




        52.     Total Debt / EBITDA is a solvency ratio that measures a company’s ability to pay
its debts. This ratio compares the company’s total debt to EBITDA, where a lower score
demonstrates a company’s ability to pay off its debt more expediently. Union Pacific’s 2.7x
Total Debt / EBITDA ratio is consistent with the peer company weighted average by revenue
ratio of 2.6x.

      53.     Return on equity (“ROE”) is a profitability ratio used to measure how efficiently a
company generates profits from every unit of shareholders’ equity, where a higher percentage
demonstrates more efficient profitability. 82 Union Pacific’s 47% ROE is better than its nearest
                                          81F




competitor, and significantly exceeds the peer group weighted average of 19%. A reduction to




79
  The formula is 1.2 x (Working Capital / Total Assets) + 1.4 x (Retained Earnings / Total
Assets) + 3.3 x (EBIT / Total Assets) + 0.6 (Market Value of Equity / Total Liabilities) + 1 x
(Total Revenue / Total Assets).
80
  “Predicting Financial Distress of Companies: Revisiting the Z-Score and ZETA Models,”
Edward Altman, July 2000. Available at https://pages.stern.nyu.edu/~ealtman/Zscores.pdf
(accessed May 9, 2024).
81
  BNSF data was not available. The above comparison is inclusive of all publicly traded peer
companies.
82
     Net Income ÷ Average Shareholders Equity.


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Union Pacific’s earnings of more than $2.5 billion would be required to cause Union Pacific’s
ROE to be in-line with the peer group average.

       54.     These industry-leading financial metrics provide further support for my
conclusion that Union Pacific has the ability to pay a substantial damages award, if necessary.

      4. Evaluation of Union Pacific’s Ability to Pay

       55.    In this section, I consider Union Pacific’s ability to pay statutory damages based
upon the analyses set forth in §§ 2-3 above. Specifically, I consider Union Pacific’s ability to pay
a judgment of approximately $2.5 billion.

        56.    My selection of this amount considered Union Pacific’s potential debt covenants.
Union Pacific does not disclose details of current debt covenants other than the presence of a
debt-to-EBITDA coverage ratio. Union Pacific does, however, disclose that the maximum
allowable debt pursuant to its existing credit facilities is $44.4 billion as of December 31,
2023. 83 Accordingly, Union Pacific’s maximum debt-to-EBITDA ratio is approximately 3.7x. 84
        82F                                                                                        83F




Based on Union Pacific’s currently outstanding debt, the Company had a cushion of
approximately $2.7 billion before the maximum debt-to-EBITDA ratio might be exceeded. 85     84F




Accordingly, I evaluate Union Pacific’s ability to pay a judgment less than this amount or
approximately $2.5 billion. 86
                            85F




         57.    First, Union Pacific’s net assets exceeded net liabilities by $15.7 billion as of
March 31, 2024 (see §3.a). Accordingly, an award of $2.5 billion would not cause Union Pacific
to fail the Balance Sheet Test.

        58.     Second, as described in § ¶ 39, Union Pacific generated Net Cash Flow to Equity
of $4.8 billion during 2023 (i.e., after making normal capital expenditures and payment of
interest on outstanding debt). Further, even after repayment of debt, Union Pacific is expected to
generate $4.7 billion of positive cash flow in 2024. In fact, Union Pacific’s discretionary
shareholder return-related spending has exceeded $3.8 billion in each of the two most recent


83
     Union Pacific 2023 Form 10-K, p.66.
84
     Union Pacific 2023 Form 10-K, p.32 indicates that 2023 EBITDA was $11.8 billion.
85
   Union Pacific’s current outstanding debt totals approximately $34.3 billion. Based on a
maximum debt-to-EBITDA ratio of 3.7, Union Pacific required EBITDA of approximately $9.2
billion (i.e., $34.3 billion ÷ 3.7x). In 2023, Union Pacific generated EBITDA of approximately
$11.9 billion (2023 Union Pacific Form 10-K, p.32). Accordingly, Union Pacific’s EBITDA
appears to have been approximately $2.7 billion above the debt covenant threshold.
86
  Union Pacific could seek a waiver particularly when the circumstances resulting in the
potential breach of the covenant involves a one-time event.


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years (see ¶ 42). Thus, even before utilization of credit facilities or cash-on-hand, the Cash Flow
Test would indicate that Union Pacific can pay a judgment of this magnitude.

        59.    Third, as described in § 3.c, Union Pacific has cash-on-hand of approximately
$1.0 billion and available credit of approximately $2.4 billion. These sources of capital,
considered in conjunction with cashflow from operations, would enable the payment of a
judgment of this magnitude without impairing Union Pacific’s ability to pass the Capital
Adequacy Test. Additionally, as seen in the table below, while the payment of a judgment of this
size may temporarily impact Union Pacific’s status as a peer group leader, the Company’s
financial condition would remain in the median of those entities: 8786F




            Peer Company Financial Results and Ratio Analysis ($s in millions)
                                                                          Cash Flow from
Company Name                         Revenue            EBITDA
                                                                            Operations
BNSF                                 $23,729            $10,813                $9,086
CSX Corp                             $14,011             $7,071                $5,422
Canadian National Railway Co         $12,274             $6,481                $5,236
Northfolk Southern Corp              $12,014             $5,756                $3,885
Canadian Pacific Kansas City          $7,446             $3,985                $3,036

Union Pacific (Adj. for $2.5B
                                             $23,599                $9,257                $6,424
Judgement)
Union Pacific Lead (Deficit)                  -$130                 -$1,556               -$2,662

         60.    Ultimately, while a $2.5 billion judgment would impact Union Pacific’s annual
financial results, the impact would be temporary. 88 Such a judgement, however, would not
                                                    87F




destroy Union Pacific’s business. The Company would be unlikely to need to sell assets (e.g.,
rail cars), reduce its workforce, impair the safety of its services, or modify the services it offers
to its customers.




87
     The table reflects three-year averages from 2021 to 2023.
88
   For clarity, Union Pacific also has the ability to pay a judgment less than $2.5 billion. Further,
if the judgment was paid over a period longer than twelve months, Union Pacific would likely
have the ability to pay a significantly larger judgment.


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                             SUBJECT TO PROTECTIVE ORDER


        61.    Instead, the impact would be limited to a short-term reduction (not an elimination)
of amounts paid to Union Pacific’s shareholders (i.e., reduced share repurchases and dividends).
For example, in 2024, Union Pacific is projected to generate $4.7 billion of cash from operations
after repayment of debt and capital expenditures (see ¶ 44). This result is comparable to 2023
(see ¶ 41), when Union Pacific used approximately $3.8 billion for share repurchases and
dividends (see ¶ 43). Accordingly, if, during 2024, Union Pacific used $2.5 billion for the
payment of a judgment, the remaining total of approximately $2.2 billion (i.e., $4.7 billion of
cash from operations minus the judgment) would be available for other purposes, including share
repurchases and dividends. Put differently, after the payment of a judgment of this magnitude,
Union Pacific would be less profitable but retain the ability to make share repurchases and/or
dividend payments.



****           ****




               Greg J. Regan, CPA/CFF, CFE
               June 14, 2024




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GREG REGAN, CPA/CFF, MBA                                                                                        HEMMING.COM



Profile

Greg Regan is a Partner in the Forensic and Financial Consulting Services Group in the San Francisco office
of Hemming Morse. In 2018, Greg became the Chair of California Society of CPAs Forensic Services
Section. In 2013, Greg was appointed to the American Institute of CPA’s (“AICPA”) Forensic and Valuation
Services Executive Committee. This 9-member committee establishes professional standards for practitioners
performing consulting services that require the application of forensic or valuation-related methodologies.
From 2010 to 2013, he served on the AICPA’s Forensic and Litigation Services (“FLS”) Committee.
This 11-member committee provides professional guidance to CPA practitioners who perform accounting
investigations, economic damage analyses such as lost profits calculations, and a variety of other services.
Greg was the Chair of the AICPA’s Damages Task Force from 2010 to 2013 and continues to be an active
member. Greg received the AICPA’s 2012 Award for the FLS Volunteer of the Year.


Greg has testified in federal and state courts as well as in arbitrations regarding these types of forensic
analyses. Greg is a Certified Public Accountant (CPA), a Certified Financial Forensic (CFF), and a Certified
Fraud Examiner (CFE). Greg serves as an Officer of the California Society of Certified Public Accountants
(CalCPA) statewide Forensic Services Committee.


Greg received his B.S. degree in Accounting from Georgetown University, Washington, D.C., and his Masters
in Business Administration with an Emphasis in Finance from the University of San Francisco. When he’s not
working, he enjoys spending time with his wife and coaching the sports teams of his two boys.




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Employment & Education

■ Hemming Morse 2003 – Present                             ■ SupportSoft, Inc. (Nasdaq: SPRT) 1999 – 2003
 -Partner
 -Director, 2007-2011                                      ■ Ernst & Young, LLP 1995 – 1999
 -Manager, 2003-2006
                                                           ■ University of San Francisco 2004 – 2007
■ Golden Gate University 2009 – 2016                        -Masters in Business Administration with emphasis in
 -Adjunct Professor                                          Finance
 -Introduction to Financial Forensic Accounting, Spring     -Beta Gamma Sigma Honor Society
  2009-2016
 -An In-Depth Analysis of Economic Damages, Fall 2010      ■ Georgetown University, Washington, D.C. 1995
                                                            -B.S. Accounting, Minor in Theology




Professional & Service Affiliations


■ Certified Public Accountant, State of California, 1998   ■ California Society of Certified Public Accountants
 State of New York, 2010                                    – Co-chair, San Francisco Chapter Litigation
                                                           		 Consulting Services Committee, 2006-2011
■ Certified Fraud Examiner                                  – State Steering Committee, 2007-present
                                                           		 Officer, 2012-2020
■ Certified in Financial Forensics, 2008
                                                           ■ CAMICO, Risk Management Committee, 		
■ American Institute of Certified Public Accountants        2014-present
 – Forensic & Valuation Services Executive Committee,
		 2013-2016                                               ■ California CPA Education Foundation
 – Forensic & Litigation Services Committee,                – Accounting & Auditing Curriculum Advisory
		 2010-2013                                               		 Committee, 2007-2010
 – Chair, Damages Task Force
 – National Forensic & Valuation Conference                ■ Legal Aid of San Mateo County
		 – Co-Chair, 2014-2015                                    – Board of Directors, Treasurer
		 – Planning Committee, 2011-2016
                                                           ■ Board of Regents, Junipero Serra High School




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Testimony
Trial and Deposition

■ Consumer Financial Protection Bureau v. Stratfs,            ■ Sumotext Corp. v. Zoove, Inc., et al. (2020)
 LLC (2024), U.S. District Court, Western District of           U.S. District Court, Northern District of
 New York, Case No. 1:24-cv-00040                               California, San Jose Division, Case No. 5:16-cv-
                                                                01370-BLF
■ DBI Beverage Inc. v. WSJ, LLC (2023),
 Superior Court of California, San Francisco,                 ■ PPFA, Inc. v. Center For Medical Progress, et al.
 Case No. CGC-20-582694                                         (2019), U.S. District Court, Northern District San
                                                                Francisco, Case No. 3:16-Cv-00236-Who
■ Knauf Ventures, LLC v. 154 Almonte Blvd, LLC
 (2023), California Superior Court, Marin, Case No.           ■ ASML US, Inc, v. XTAL (2018),
 CIV2003268                                                     Superior Court of California, Santa Clara, Case
                                                                No. 16-CV-295051
■ Virgin Hotels San Francisco, LLC v. 250 Fourth
 Development, L.P. et al. (2022), Superior Court of           ■ State of Colorado v. Center for Excellence in
 California, San Francisco, Case No. CGC-20-584350              Higher Education, Inc., et al. (2017), District
                                                                Court, Denver City and State of Colorado, Case
■ People of the State of California v Zovio, et al. (2021),     No. 2014cv34530
 Superior Court of California, San Diego, Case No. 37-
 2018-00046134-CU-MC-CTL




Arbitration and Deposition



■ T.I.M.E. Service Catalyst Handling, LLC v. Scott            ■ Cloud Cruiser, Inc. v. Cisco Systems, Inc. (2017)
 Rogers et al. (2022), American Arbitration                    JAMS Reference No. 1100085560
 Association, Case No. No. 01-18-002-3360


■ Sutter Health and Sutter Health Plan v. Optum
 Insight, Inc. (2017), American Arbitration Association
 Case No. 011500034226




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Testimony continued

Deposition

■ Primevere LLC v. Rezidential Development, Inc.             ■ Barry Forman v. Timothy Covington (2022),
 (2024), Superior Court of California, Orange County,         Superior Court of California, San Francisco, Case
 Case No. 30-2021-01203514-CU-BC-CJC                          No. CGC-21-588962


■ Autumn Funkhouser-Ward v. Honeywell Interna-               ■ Don Lee Farms v. Beyond Meat (2022), Superior
 tional, Inc. (2024), USDC, Southern District of Illinois,    Court of California, Los Angeles, Case No.
 Case No. 3:21-cv-00485-SMY                                   BC662838


■ State of California ex re Mark Sersansie v. Gardens        ■ New Prime Inc. v. Amazon Logistics, Inc. (2021),
 Regional Hospital Medical Center et. al. (2024),             U.S. District Court, Western District of Missouri,
 Superior Court of California, Los Angeles,                   Case No. 6:19-cv-03236-MDH
 Case No. BC534466
                                                             ■ Kiva Health Brands, LLC v. Kiva Brands Inc.
■ SEC v. Barrington Asset Management (2023),                  (2021), U.S. District Court, Northern District of
 U.S. District Court, Northern District of Illinois, Case     California, Civil No. 3:19-cv-03459-CRB
 No. 21-cv-3450
                                                             ■ Class B Investors v. 8minutenergy US Manager,
■ Hewitt v. Google LLC (2023), U.S. District Court,           LLC (2021), JAMS Case Reference No. 1100110779
 Northern District of California,
 Case 4:21-cv-02155-YGR                                      ■ Synchrony Bank v. RevPar Collective, Inc. (2021),
                                                              Superior Court of California, San Francisco, Case
■ Shannon McBurnie, et al. v. RAC Acceptance East             No. CGC-18-566487
 LLC (2022), U.S. District Court, Northern District of
 California, Case No. 3:21-cv-01429-JD                       ■ Bridge-Folsom, LP, v. Terra Firma Development
                                                              Company, LTD (2021), JAMS Arbritration, No.
■ Steven Gomo v. NetApp, Inc. (2022), Federal Court,          1130008587
 ND CA, Case No. 5:17-cv-02990-BLF
                                                             ■ SRS Acquiom, Inc. v. PNC Financial Services
■ Stahl and Reynolds v. Orthopedic Alliance (2022),           Group, Inc. (2020), U.S. District Court, District
 U.S. District Court, Central District of California,         of Colorado, Civil Action No. 1:19-cv-02005-DDD-
 Case No. CV16-03966-MWF (SKx)                                SKC




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GREG REGAN, CPA/CFF, MBA                                                                                 HEMMING.COM

Testimony continued
Deposition continued
■ United States ex rel. Matthew Macdowell v. Synnex        ■ Justice Laub v. Drone Racing League, Inc. et
  Corporation (2020), U.S. District Court, Northern          al. (2019), U.S. District Court, Central District of
  District of California, Case No. 19-cv-00173-WHA           California, Western Division, Case No. 2:17-CV-
                                                             06210-JAK (KSX)
■ Ahmad Hamdan v. Dorothy Reggi, et al. (2020),
  Yuba County Superior Court, Case No. CVCV18-01936        ■ United States Of America v. County Of Clark
                                                             And Nevada Links, Inc. (2019), U. S. District Court
■ Aqualegacy Development LLC v. 2012 Canrow                  District Of Nevada, Case No. 2:17-Cv-02303
  Owner (2020), Superior Court of California,
  Monterey, Case No. 16CV001078                            ■ Fuse Chicken, LLC v. Amazon.com, Inc. (2019)
                                                             U.S. District Court Northern District of Ohio,
■ Cisco Systems, Inc., And Cisco Technology, Inc.            Eastern Division, Case No. 5:17-cv-01538-SL
  v. ADSI, et al. (2020), U.S. District Court, Northern
  District of California, Oakland Division, Case No.       ■ Golden Gateway Center v. San Francisco
  4:18-cv-07602 YGR                                          Waterfront Partners II, LLC (2018), Superior Court
                                                             of California, San Francisco, Case No. CGC 15-548437
■ Administrator v. Marlette Funding, LLC et al. (2020),
  District Court, Denver City and State of Colorado,       ■ The Barrel Cellar v. Quince Pacific Avenue (2018),
  Case No. 17CV30376                                         Superior Court of California, San Francisco, Case No.
                                                             CGC-17-561363
■ In Re: Restasis Antitrust Litigation (2020), U.S.
  District Court, Eastern District of New York, Case No.   ■ Just Games Interactive Entertainment, LLC v.
  MDL No. 2819 18-MD-2819 (NG) (LB)                          Scopely, Inc. (2018), JAMS Arbitration


■ Wetlands Preservation Foundation v. Department           ■ Mark de Bibo Company v. Ryan & Ryan
  of Water Resources, The Nature Conservancy (2019)          Construction, Inc. (2017), Superior Court of
  Superior Court of California, San Joaquin, Case No.        California, San Mateo, Case No. CIV534040
  STK-CV-UWM-2018-8957
                                                           ■ Amedee Geothermal Venture I v. Lassen
■ Healthnet v. American International Specialty Lines        Municipal Utility District (2017), Superior Court of
  Insurance Company, et al. (2019), Superior Court of        California, Lassen, Case No. 59485
  California, Los Angeles, Case No. Bc357436


■ Fred Sahadi v. Liberty Mutual Insurance. et al (2019),
  U.S. District Court Northern District of California,
  Case No. 5:18-CV-04061-LHIK

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Publications


■ "Making Sense of Forensic Accounting", CalCPA                 ■ “Attaining Reasonable Certainty in Economic
  Magazine, 2020                                                 Damages, Calculations”, AICPA Practice Aid, 2015


■ "Trial Testimony by Financial Experts in California           ■ “How CPAs can benefi t from Colin Powell’s Rule”,
  Court: A Reference Guide to Hearsay Evidence                   AICPA “FVS Insider” Article, August 2013
  Objections", CalCPA FSS, 2019
                                                                ■ “Options for Consumers in Crisis - An Economic
■ “Calculating Lost Profits”, AICPA Practice Aid, 2019           Analysis of the Debt Settlement Industry”,
                                                                 December 31, 2012
■ Unblurring the Line(s) Between Accounting and Legal
 Opinions”, The Witness Chair, Winter 2017                      ■ “Discount Rates, Risk, and Uncertainty in Economic
                                                                 Damage Calculations”, AICPA Practice Aid, 2012
■ “Big Data’s Day in Court”, Plaintiff Magazine, January 2017




Awards


■ AICPA, Forensic & Litigation Services Volunteer               ■ Georgetown University, Dean’s Citation, 1995
 of the Year, 2012




AICPA CFF Education, Spring 2010-Present

■ Fundamentals of the Legal System & Engagement                 ■ Financial Statement Investigations
 Administration


■ Reporting, Expert Reports, and the Provision of
 Testimony




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Presentations


■ “Aligning Damages to the Claims for Relief”,            ■ “Un-blurring the Lines Between Legal and Expert
 AICPA National Forensic & Valuation Services              Opinions”, AICPA National Forensic & Valuation
 Conference (2023)                                         Services Conference, 2017


■ “An Exploration of Reliance Damages”,                   ■ “Un-blurring the Lines Between Accounting and
 AICPA National Forensic & Valuation Services              Legal Opinions”, CalCPA Forensic Services Steering
 Conference (2022)                                         Committee, June 2016


■ “The 'State' of Sargon: 8 Years Later", CalCPA (2020)   ■ “Examining Cross-Examination”, AICPA National
                                                           Forensic & Valuation Conference, 2015
■ “Damages - When are they Foreseeable?”,
 AICPA National Forensic & Valuation Services             ■ “Experts on Offense, Experts on Defense”,
 Conference, 2018                                          ABA National Securities Fraud Conference, 2014


■ “Linking Causation to Damages”, AICPA National
 Forensic & Valuation Services Conference, 2017




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Fleury, et al v. Union Pacific
Appendix B - Documents Considered
Expert Report of Greg J. Regan, CPA/CFF, CFE



Category        File
 Case Filings   Fleury v. Union Pacific - Third Amended Complaint - 06.28.23
                Dkt. 209 - Motion to Strike Class Allegations
 SEC Filings    Union Pacific Corporation Presents at Barclays 41st Annual Industrial Select Conference 2024, Feb-21
                2024 Union Pacific Proxy Statement
                Union_Pacific_Corporation_-_Form_10-K(Feb-09-2024)
                Union Pacific Corporation NYSE UNP Financials
                Union Pacific Corporation NYSE UNP Fixed Income S P Global Ratings
                UnionPacificCorporationNYSEUNPEstimatesReport
                Union Pacific Corporation, Q1 2024 Earnings Call, Apr 25, 2024
                Union Pacific Corporation, Q4 2023 Earnings Call, Jan 25, 2024
                Union_Pacific_Corporation_-_Form_10-K(Feb-04-2022)
                Union_Pacific_Corporation_-_Form_10-K(Feb-10-2023)
                Union_Pacific_Corporation_-_Form_10-Q(Apr-25-2024)
                Union Pacific Corporation NYSE UNP Long Business Description
                Union Pacific Corporation Presents at J.P. Morgan 2024 Industrials Conference, Mar-13-2024
 Research       Cothron v White Castle System Inc
                Union Pacific Corporation NYSE UNP Fixed Income S P Global Ratings
                2018.05.31 Union Pacific Corp. Corporate Credit Rating Lower _ S&P Global Ratings
                2023.11.07 Fitch Affirms Union Pacific at 'A-'_'F1'; Outlook Stable
                S&P Global Ratings
                Litigation Services Handbook, The Role of the Financial Expert, 5th Ed. and 6th Ed.
                www.up.com
                AICPA Statement on Standards for Valuation Services
                S&P, "Examining Share Repurchasing and the S&P Buyback Indices in the U.S. Market", March 2020
                Willamette, "Due Diligence and Analytical Proceduresfor Fraudulent Conveyance Opinions" Winter 2014
                "Predicting Financial Distress Of Companies:Revisiting The Z-Score And Zeta® Models"
                PwC, Fair Value Measurements, September 2022
                SEC Financial Reporting Manual
                FASB, Concepts Statement No. 8, Chapter 1, Conceptual Framework for Financial Reporting Chapter 1
